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                                      1 Aileen M. Hunter, California Bar No. 253162
                                          aileen.hunter@bclplaw.com
                                      2 Traci G. Choi, California Bar No. 307245

                                      3 traci.choi@bclplaw.com
                                        BRYAN CAVE LEIGHTON PAISNER LLP
                                      4 3161 Michelson Drive, Suite 1500
                                        Irvine, California 92612-4414
                                      5 Telephone: (949) 223-7000
                                        Facsimile: (949) 223-7100
                                      6

                                      7 Attorneys for Plaintiff
                                          CHARTWELL STAFFING SERVICES INC.
                                      8

                                      9                          UNITED STATES DISTRICT COURT

                                     10          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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Bryan Cave Leighton Paisner LLP

 Irvine, California 92612-4414




                                     11 CHARTWELL STAFFING SERVICES                      Case No. 8:19-cv-00642 JLS (JDEx)
                                          INC, a New York corporation,
                                     12                                                  EX PARTE APPLICATION OF
                                                                Plaintiff,               PLAINTIFF CHARTWELL
                                     13
                                                                                         STAFFING SERVICES INC. FOR
                                     14                    v.                            TEMPORARY RESTRAINING
                                                                                         ORDER AND REQUEST TO ISSUE
                                     15 ATLANTIC SOLUTIONS GROUP                         ORDER TO SHOW CAUSE
                                          INC., a Delaware corporation, doing            REGARDING PRELIMINARY
                                     16 business as EMPIRE WORKFORCE                     INJUNCTION; MEMORANDUM OF
                                     17 SOLUTIONS; ADAM KIDAN, an                        POINTS AND AUTHORITIES
                                        individual; TONY ALANIS, an
                                     18 individual; ROSA BENAVIDES, an                   [Filed with Declarations of W. Holmes
                                        individual; MARLENE CORNEJO, an                  Lilley, Patrick McKenney, Jonathan La
                                     19 individual; JAMIE DIAZ, an individual;           Bella, Brian Gillespie, Sandra Lee,
                                        DENISE GONZALES, an individual;                  David Kooiman, Taylor Guay, Yishai
                                     20
                                        PATRICIA HANKS, an individual;                   Perez, Jonace Temblador, Jose Cabrera,
                                     21 NICK REBULTAN, an individual; and                and Traci G. Choi; Request for Judicial
                                        DOES 1 through 10, inclusive,                    Notice; Notice of Lodging; and
                                     22                                                  Proposed Order]
                                                                Defendants.
                                     23                                                  Hon. Josephine L. Staton
                                     24                                                  Courtroom 10A

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                                                   EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER/PRELIMINARY INJUNCTION
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                                      1           TO THE HONORABLE COURT AND ALL PARTIES AND THEIR
                                      2 ATTORNEYS OF RECORD:

                                      3           PLEASE TAKE NOTICE that Plaintiff Chartwell Staffing Services, Inc.
                                      4 (“Chartwell”) applies to the Court ex parte for a temporary restraining order

                                      5 (“TRO”) enjoining Defendants Atlantic Solutions Group Inc., doing business as

                                      6 Empire Workforce Solutions (“Empire”), Adam Kidan, Tony Alanis, Rosa

                                      7 Benavides, Marlene Cornejo, Jamie Diaz, Denise Gonzales, Patricia Hanks, and

                                      8 Nick Rebultan (collectively, “Defendants”), and any individuals working in concert

                                      9 with or at the direction of Defendants, from using confidential, trade secret

                                     10 information belonging to Chartwell for their benefit. Chartwell applies ex parte for
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                                     11 a temporary restraining order:

                                     12           (1) Enjoining, prohibiting, and restraining all Defendants, their employees,
                                     13               agents, and persons acting with them or on their behalf from engaging in
                                     14               the following acts:
                                     15                    a. Using Chartwell’s confidential, proprietary information in all
                                     16                      formats including information obtained from Chartwell’s Customer
                                     17                      Relationship Management (“CRM”) and Madison Online Solutions
                                     18                      (“MOS”) databases, consisting of (i) Chartwell’s proprietary client
                                     19                      list, including information contained therein relating to the clients’
                                     20                      and their business affairs, special staffing needs, preferred methods
                                     21                      of doing business, methods of operation, key contact personnel, and
                                     22                      mark up rates and other negotiated terms specific to each customer;
                                     23                      (ii) names, addresses, telephone numbers, qualifications, education,
                                     24                      accomplishments, experience, availability, resumes and other data
                                     25                      regarding persons who have applied or have been recruited for
                                     26                      temporary or permanent employment with Chartwell; and (iii) job
                                     27                      order specifications, including particular characteristics and
                                     28                      requirements of persons generally hired by a client, specific job
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                                      1                      listings, mailing lists, computer runoffs, pay rates and other
                                      2                      financial information (“Confidential Trade Secret Information”);
                                      3                    b. Using Confidential Trade Secret Information by contacting
                                      4                      Chartwell’s customers to solicit their business; and
                                      5                    c. Using Confidential Trade Secret Information by contacting
                                      6                      employee applicants of Chartwell to solicit their employment.
                                      7           (2) Directing all Defendants to return or destroy all Confidential Trade Secret
                                      8               Information in their possession, in all formats.
                                      9           Chartwell also seeks an Order to Show Cause why a preliminary injunction
                                     10 should not issue pending trial.
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                                     11           Chartwell makes this Application pursuant to Federal Rule of Civil Procedure
                                     12 65 and Local Civil Rule 7-19 on the grounds that without the requested relief,

                                     13 Chartwell will be irreparably harmed. The actions of Defendants are specifically

                                     14 intended to unfairly compete with Chartwell and drive Chartwell out of business.

                                     15           Chartwell is an employment staffing agency. California law specifically
                                     16 protects employment agencies from such unlawful competition: “customer list,

                                     17 including the names, addresses and identity of all employer customers who have

                                     18 listed job orders with an employment agency within a period of 180 days prior to the
                                     19 separation of an employee from the agency and including the names, addresses and

                                     20 identity of all applicant customers of the employment agency, shall constitute a

                                     21 trade secret and confidential information of, and shall belong to, the employment

                                     22 agency.” Cal. Bus. & Prof. Code § 16607.

                                     23           Chartwell further ensures the protection of its Confidential Trade Secret
                                     24 Information by requiring employees to sign Employment Agreements, in which they

                                     25 agree not to disclose Chartwell’s Confidential Trade Secret Information without

                                     26 Chartwell’s consent, and not to solicit current customers and employees of

                                     27 Chartwell.

                                     28           Mr. Kidan was the President of Chartwell until March 8, 2019, when he
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                                      1 resigned from his position, taking six other employees with him to start his own

                                      2 competing company, Empire. One of the other employees, Jamie Diaz, accessed

                                      3 and presumably took Chartwell’s Confidential Trade Secret Information by

                                      4 downloading CRM and MOS, without Chartwell’s consent, just two days before her

                                      5 resignation. Since their departure, Defendants have actively solicited business

                                      6 Chartwell’s customers with the intent to interfere with Chartwell’s business

                                      7 relationships. Defendants further continue to contact current employees of

                                      8 Chartwell to solicit their employment with Empire. Defendants have arranged

                                      9 meetings with Chartwell employees assigned to customer locations, during which

                                     10 Defendants promulgated false statements about Chartwell’s financial stability, in
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                                     11 efforts to coerce Chartwell’s current employees to terminate their employment with

                                     12 Chartwell and join Empire.

                                     13           Pursuant to Local Civil Rule 7-19, Chartwell believes Mr. Affeld is counsel
                                     14 for Defendants. His contact information is as follows:

                                     15                    David Affeld
                                     16                    Affeld Grivakes LLP
                                     17                    2049 Century Park East, Suite 2460
                                     18                    Los Angeles, CA 90067
                                     19           In accordance with the Hon. Josephine L. Staton’s rules, Defendants are
                                     20 hereby notified that any opposing papers must be filed no later than 24 hours

                                     21 after service of this Application.

                                     22           Prior to filing, Chartwell contacted Mr. Affeld to ascertain whether Mr.
                                     23 Affeld represents the Defendants. As of the filing of this Application, Mr. Affeld

                                     24 has not confirmed. Chartwell believes the Defendants oppose the requested relief,

                                     25 as set forth in the related case, Atlantic Solutions Group, Inc., et al. v. Chartwell

                                     26 Staffing Solutions, Inc., Case No. 8:19-cv-00642.

                                     27           This Application is based on this Application, the attached Memorandum of
                                     28 Points and Authorities, the concurrently filed Declarations of W. Holmes Lilley,
                                                                                  4
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                                      1 Patrick McKenney, Jonathan La Bella, Taylor Guay, David Kooiman, Yishai Perez,

                                      2 Jonace Temblador, Brian Gillespie, Sandra Lee, Jose Cabrera and Traci Choi,

                                      3 Request for Judicial Notice, Notice of Lodging, and on all papers, pleadings and

                                      4 records on file in this action.

                                      5

                                      6 Dated: April 18, 2019                    Aileen M. Hunter
                                      7
                                                                                 Traci G. Choi
                                                                                 BRYAN CAVE LEIGHTON PAISNER LLP
                                      8
                                                                                 By: /s/ Traci G. Choi
                                      9                                               Traci G. Choi
                                     10                                          Attorneys for Plaintiff
3161 Michelson Drive, Suite 1500
Bryan Cave Leighton Paisner LLP




                                                                                 CHARTWELL STAFFING SERVICES INC.
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                                       1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                       2 I.        INTRODUCTION
                                       3           “[F]undamental to the preservation of our free market economic system is the
                                       4 . . . right to have the ingenuity and industry one invests in the success of the business

                                       5 or occupation protected from the gratuitous use of that ‘sweat-of-the-brow’ by

                                       6 others.” Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1520 (1997).

                                       7           This case is a classic example of unfair competition and misappropriation of
                                       8 trade secrets - the former President of Chartwell Staffing Services, Inc.

                                       9 (“Chartwell”) is unlawfully gutting the company of its customers and employees for

                                      10 his own competing company, Atlantic Solutions Group, Inc., doing business as
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                                      11 Empire Workforce Solutions (“Empire”).

                                      12           Chartwell is a national staffing agency, with a strong presence in southern
                                      13 California. It is a privately held company, 100% owned by Tracy Kidan. From the

                                      14 company’s inception until March 8, 2019, her husband, Adam Kidan, was an officer

                                      15 of the company, including the CEO. As their marriage fell apart, Adam Kidan

                                      16 began his scheme to open a competing business, taking with him over fifteen

                                      17 employees, including the seven other individuals named in this lawsuit.

                                      18           Kidan solicited numerous employees while still purporting to act as the
                                      19 President of Chartwell, incorporated his competing business, and presumably

                                      20 directed at least one of the employees to download information from Chartwell’s

                                      21 confidential proprietary database right before her resignation.

                                      22           Empire, Kidan, and the seven other individually named defendants
                                      23 (collectively, “Defendants”) began actively soliciting customers of Chartwell,

                                      24 including those who have placed job orders with Chartwell in the last 180 days

                                      25 preceding Kidan’s resignation. Specifically, Defendants engaged in a scheme where

                                      26 they would visit various job sites of customers, gather all of the Chartwell

                                      27 employees at that site, and coerce them to fill out Empire job applications, either

                                      28 with express misrepresentations or omissions regarding the employees’ ability to
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                                       1 continue to be employed with Chartwell. As a result, Chartwell customers have

                                       2 already begun sending business to Empire and terminated current assignments with

                                       3 Chartwell.

                                       4           Defendants are engaged in the very act the Defend Trade Secrets Act and
                                       5 California Uniform Trade Secrets Act were designed to prevent. California law

                                       6 specifically protects employment agencies from such unlawful competition:

                                       7 “customer list, including the names, addresses and identity of all employer

                                       8 customers who have listed job orders with an employment agency within a period of

                                       9 180 days prior to the separation of an employee from the agency and including the

                                      10 names, addresses and identity of all applicant customers of the employment agency,
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                                      11 shall constitute a trade secret and confidential information of, and shall belong to,

                                      12 the employment agency.” Cal. Bus. & Prof. Code § 16607.

                                      13           Unless Defendants are enjoined from misappropriating Chartwell’s trade
                                      14 secrets by soliciting customers and employees of Chartwell, Chartwell will suffer

                                      15 irreparable harm. Chartwell respectfully requests the Court issue a temporary

                                      16 restraining order, enjoining Defendants from soliciting Chartwell customers and

                                      17 employees until the motion on a preliminary injunction can be heard. Chartwell

                                      18 further requests the Court order Defendants to destroy any versions of Chartwell’s
                                      19 confidential trade secret information in their possession.

                                      20 II.       STATEMENT OF FACTS
                                      21           A.       Chartwell Staffing Agency.
                                      22           Chartwell is a national employee staffing agency in 2012. (Lilley Decl. ¶ 4.)
                                      23 Chartwell provides a variety of staffing services to its customers. Chartwell has

                                      24 been successful in developing and maintaining an advantageous, stable, and

                                      25 continuous customer base. It is one of the nation’s top woman-owned staffing

                                      26 agencies. Chartwell has approximately 40 branch offices throughout the country,

                                      27 and 11 specifically in southern California. Chartwell has branches in 13 states, and

                                      28 employees in one state routinely work with other employees and customers in other
                                                                                 6
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                                       1 states. Chartwell also routinely assigns employees to customer jobs located across

                                       2 state lines. (Lilley Decl. ¶ 3.)

                                       3           Over the past seven years, Chartwell has dedicated significant resources to
                                       4 compiling information regarding its customers and employees. Chartwell employs a

                                       5 permanent sales force to seek out and secure new business and service Chartwell’s

                                       6 current clients. Chartwell also employs staffing specialists and branch managers in

                                       7 each of its offices, who service customer accounts, solicit new business, interview

                                       8 employee applicants, fill customer job orders, and distribute payroll checks to

                                       9 employees. Chartwell has spent no less than $15 million developing its customer

                                      10 and employee base. (Lilley Decl. ¶ 4.)
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                                      11           Chartwell owns confidential information not available to the public, including
                                      12 but not limited to Chartwell’s customer lists, including information relating to

                                      13 customers’ business affairs, special staffing needs, preferred methods of doing

                                      14 business, methods of operation, key contact personnel, mark up rates, pay rates, and

                                      15 other negotiated terms specific to each customer, job order specifications and the

                                      16 particular characteristics and requirements of persons generally hired by the

                                      17 customer, specific job listings, mailing lists, computer runoffs, financial and other

                                      18 information; and employee information, including the names, addresses, telephone
                                      19 numbers, qualifications, education, accomplishments, experience, availability,

                                      20 resumes and other data regarding persons who have applied or been recruited for

                                      21 temporary or permanent employment’ (collectively, the “Confidential Trade Secret

                                      22 Information”). (Lilley Decl. ¶ 5.)

                                      23           A portion of the Confidential Trade Secret Information is maintained in a
                                      24 proprietary database, called “Customer Relationship Management,” or “CRM.”

                                      25 CRM is managed by a vendor called Madison Resources. (Lilley Decl. ¶ 6; Guay

                                      26 Decl. ¶¶ 2-3.)

                                      27           CRM includes the following information: (1) information about customers,
                                      28 including customer name, contact information, preferred contact with customer and
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                                       1 method of doing business, business needs and affairs, pricing arrangements,

                                       2 specified needs of customer, job listings, and particular characteristics and

                                       3 requirements of persons generally hired by customer; and (2) information about

                                       4 employees, including employees’ names, addresses, telephone numbers,

                                       5 qualifications, education, accomplishments, experience, availability, resumes, and

                                       6 other data. (Lilley Decl. ¶ 7; Guay Decl. ¶ 3.)

                                       7           Madison Resources also manages Madison Online Solutions (“MOS”), which
                                       8 Chartwell uses to report post-payroll data. MOS contains information regarding

                                       9 Chartwell’s accounts receivables, invoices to customers, and other billing

                                      10 information relating to customers. (Lilley Decl. ¶ 8; Guay Decl. ¶¶ 2, 4.)
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                                      11           Chartwell’s Confidential Trade Secret Information, including the information
                                      12 contained in CRM and MOS, provides Chartwell with a competitive advantage over

                                      13 its competitors. Because of the confidential and proprietary nature of the

                                      14 information contained in CRM and MOS, only certain Chartwell employees and

                                      15 Madison Resources, have access to it. (Lilley Decl. ¶ 9.)

                                      16           As part of their duties, Chartwell’s sales and branch employees develop
                                      17 familiarity and contacts with Chartwell’s customers and employees. In order for the

                                      18 employees to effectively carry out their employment duties, Chartwell necessarily
                                      19 reveals to its employees confidential and proprietary information regarding its

                                      20 customers, including their sales volume, profit margins, special employment needs,

                                      21 particular likes and dislikes and pay rates and mark ups. Similarly, in the course of

                                      22 their employment at Chartwell, employees necessarily acquire confidential

                                      23 knowledge regarding Chartwell’s employees/labor force, including their names,

                                      24 addresses, job skills, past employment history and employment record with

                                      25 Chartwell’s customers. (Lilley Decl. ¶ 10.)

                                      26           As a result, Chartwell takes extreme precautions to safeguard confidential
                                      27 information regarding its customers and employees, including the information

                                      28 contained in CRM and MOS. Chartwell requires its employees to sign Employment
                                                                             8
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                                       1 Agreements which restricts the employees’ ability to use Chartwell’s confidential

                                       2 information, other than as authorized by Chartwell. Further, Chartwell employees

                                       3 may not access CRM and MOS except by logging in with credentials which are

                                       4 uniquely assigned to each employee. Upon termination or resignation of an

                                       5 employee, Chartwell immediately terminates the employee’s access to CRM and

                                       6 MOS, by directing Madison Resources to delete the employee’s credentials. (Lilley

                                       7 Decl. ¶¶ 11-12.)

                                       8           B.       Defendants’ Employment with Chartwell.
                                       9           In 2012, Adam Kidan began working for Chartwell. From 2012 to March 8,
                                      10 2019, Mr. Kidan held a number of officer positions at Chartwell, including Vice
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                                      11 President, Secretary, Chief Executive Officer, and President. (Lilley Decl. ¶ 13.)

                                      12           In 2012, Chartwell hired Jamie Diaz. (Lilley Decl. ¶ 18, Ex. 5.) In 2015,
                                      13 Chartwell hired Rosa Benavides and Patricia Hanks. (Lilley Decl. ¶¶ 14-15, Exs. 1-

                                      14 2.) In 2016, Chartwell hired Tony Alanis and Marlene Cornejo. (Lilley Decl. ¶¶

                                      15 16-17, Exs. 3-4.) In 2017, Chartwell hired Denise Gonzalez and Nicolas Rebultan.

                                      16 (Lilley Decl. ¶¶ 19-20, Exs. 6-7.) Each of these employees signed an Employment

                                      17 Agreement. (Id.)

                                      18           Each employee agreed and acknowledged the following were confidential
                                      19 information belonging to Chartwell: (1) “manuals, methods, forms, techniques and

                                      20 systems which [Chartwell] owns, plans or develops, whether for its own use or for

                                      21 use by or with its clients”; (2) “information concerning [Chartwell]’s clients,

                                      22 including their business affairs, special needs, preferred methods of doing business,

                                      23 methods of operation, key contact personnel and other data”; (3) “names, addresses,

                                      24 telephone numbers, qualifications, education, accomplishments, experience,

                                      25 availability, resumes and other data regarding persons who have applied or been

                                      26 recruited for temporary or permanent employment by [Chartwell]”; and (4) “job

                                      27 order specifications and the particular characteristics and requirements of personally

                                      28 generally hired by a client, specific job listings, mailing lists, computer runoffs,
                                                                                     9
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                                       1 financial and other information.” (Lilley Decl., Exs. 1-4, § 5; Exs. 5-7, § 4(a).)

                                       2 Each employee further agreed he or she will not “whether during or after [his or her]

                                       3 employment with [Chartwell], use for any reason or disclose to any person any of

                                       4 [Chartwell’s] Confidential Information or permit any person to examine and/or

                                       5 make copies of any documents which may contain or are derived from Confidential

                                       6 Information, whether prepared by the Employee or otherwise[.]” (Lilley Decl., Exs.

                                       7 1-4, § 6; Exs. 5-7, § 4(b).)

                                       8           C.       Kidan’s Pre-Resignation Solicitation Efforts
                                       9           On or about November 7, 2018, while still acting as the President of
                                      10 Chartwell, Kidan secretly and without making any disclosure to Chartwell of his
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                                      11 actions, incorporated Atlantic Solutions Group, Inc., doing business as Empire

                                      12 Workforce Solutions (“Empire”) in the state of Delaware. (Choi Decl., Ex. 3.)

                                      13           Beginning in early 2019, Mr. Kidan began soliciting employees of Chartwell
                                      14 to terminate their employment with Chartwell and work for Empire. By that time,

                                      15 Mr. Kidan had already solicited at least one employee, Tony Alanis, to join his new

                                      16 company – and together they began to jointly solicit current employees.

                                      17           Specifically, in January 2019, Alanis approached Jonathan La Bella to recruit
                                      18 La Bella to join Empire. (La Bella Decl. ¶ 2.) Alanis and Kidan subsequently met
                                      19 with La Bella two times to convince La Bella to join Empire. (La Bella Decl. ¶¶ 3-

                                      20 4.) During one of those meetings, Alanis and Kidan informed La Bella that they had

                                      21 already recruited Denise Gonzalez, Rosa Benavides, Patricia Hanks, and Marlene

                                      22 Cornejo to join their company. (Id.) Alanis and Kidan also met with Patrick

                                      23 McKenney in February 2019, and attempted to recruit McKenney to join their new

                                      24 company. (McKenney Decl. ¶ 2.)

                                      25           When Kidan perceived his solicitation efforts with La Bella and McKenney to
                                      26 have failed due to the efforts of another Chartwell employee, David Kooiman,

                                      27 Kidan left Kooiman a defamatory and threatening voicemail. (Kooiman Decl., Ex.

                                      28 1.)
                                                                                       10
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                                       1           On March 5, 2019, Empire registered to do business in California. (Choi
                                       2 Decl., Ex. 1.) Their current statement of information shows Kidan is the Chief

                                       3 Executive Officer and Chief Financial Officer, and Alanis is the Secretary. (Choi

                                       4 Decl., Ex. 2.)

                                       5           D.       Diaz’s Improper Access of Confidential Trade Secret Information
                                       6           On March 6, 2019, while on paid time off, Jamie Diaz accessed Chartwell’s
                                       7 Confidential Trade Secret Information by accessing CRM and MOS. (Lilley Decl.

                                       8 ¶¶ 33-34.) Specifically, Diaz logged on to CRM on March 6, 2019, at 7:59 p.m.

                                       9 (Eastern Time). Diaz accessed MOS on March 6, 2019, at 8:00 p.m. (Eastern

                                      10 Time). Diaz was last active on CRM on March 6, 2019, at 8:01 p.m. (Eastern
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                                      11 Time). (Guay Decl. ¶ 8, Exs. 1-2.) Diaz had the ability to, and presumably did,

                                      12 export the information contained in MOS and CRM, which she downloaded onto a

                                      13 hard drive or emailed. (Guay Decl. ¶ 6.)

                                      14           Two days after her suspicious log in to CRM and MOS, Diaz resigned from
                                      15 Chartwell and joined Empire. (Lilley Decl. ¶ 34; Choi Decl., Ex. 4.)

                                      16           E.       Defendants’ Resignation from Chartwell and Employment with
                                      17                    Empire
                                      18           On March 8, 2019, Kidan resigned as President of Chartwell. (Lilley Decl. ¶
                                      19 35.) Diaz, Alanis, Benavides, Cornejo, Hanks, and Gonzalez resigned from their

                                      20 positions with Chartwell on March 8, 2019. (Lilley Decl. ¶ 35.) On March 15,

                                      21 2019, four more employees resigned from Chartwell, including Rebultan. (Lilley

                                      22 Decl. ¶ 36.) On March 22, 2019, seven more employees resigned from Chartwell,

                                      23 including Nieves, Case, and Clark. (Lilley Decl. ¶ 37.)

                                      24           According to his LinkedIn profile, Alanis is an Executive Vice President and
                                      25 Partner at Empire. (Choi Decl., Ex. 4.) He is also the Secretary according to

                                      26 Empire’s Secretary of State filing. (Choi Decl., Ex. 2; Request for Judicial Notice,

                                      27 Ex. 2.) LinkedIn also shows Diaz, Hanks, Cornejo, and Gonzalez as employees of

                                      28 Empire. (Choi Decl. Ex. 4.)
                                                                                       11
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                                       1           F.       Defendants’ Unlawful Solicitation of Customers and Employees
                                       2           Revolve Clothing, Granitize Products, Inc., Protective Industries, Inc., doing
                                       3 business as Caplugs, Cal-Western Manufacturers, Stepstone, and Aquamar are five

                                       4 of Chartwell’s customers who have hired Chartwell to assist them in staffing their

                                       5 respective businesses. (Lilley Decl. ¶¶ 22-27, Exs. 8-12.) Each of them has placed

                                       6 job orders with Chartwell in the 180 days preceding March 8, 2019. (Lilley Decl. ¶

                                       7 22.)

                                       8           Revolve Clothing. Within days of their resignation from Chartwell, on
                                       9 March 18, 2019, Benavides and Cornejo visited Revolve Clothing (“Revolve”), a

                                      10 customer of Chartwell. (Cabrera Decl. ¶ 2.) Cornejo told one of the employees that
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                                      11 Revolve no longer wanted to do business with Chartwell, and that in order to

                                      12 continue working at Revolve, the Chartwell employees needed to complete Empire

                                      13 employment applications. (Cabrera Decl. ¶ 2.) All the Chartwell employees were

                                      14 called into a room, and told to fill out Empire employment applications. (Cabrera

                                      15 Decl. ¶¶ 2-3.) The same day, Chartwell received a message from a Chartwell

                                      16 employee working at Revolve Clothing, a customer of Chartwell, stating that

                                      17 Revolve announced it would no longer be working with Chartwell, and that if the

                                      18 employees wanted to continue to working at Revolve, they needed to sign up with
                                      19 Empire. (Gillespie Decl. ¶ 2.) Benavides and Cornejo’s representations proved to

                                      20 be false – Revolve continues to do business with Chartwell, and Chartwell currently

                                      21 has employees assigned to work at Revolve. (Lilley Decl. ¶ 23.)

                                      22           Granitize. On March 19, 2019, Marlene Cornejo and another woman visited
                                      23 the job site of another Chartwell customer, Granitize Products, Inc. (“Granitize”),

                                      24 where four Chartwell employees were working. (Perez Decl. ¶ 2.) They met with

                                      25 the four Chartwell employees, and told them that Chartwell was “going under” and

                                      26 that if they wanted to keep their jobs at Granitize, they needed to fill out the Empire

                                      27 applications. All four employees filled out the applications. (Id.)

                                      28           After the Empire visit, Chartwell received notice from Granitize, stating that
                                                                                       12
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                                       1 as of March 17, 2019, Granitize would terminate the assignments of all four

                                       2 Chartwell employees. (Gillespie Decl. ¶ 3, Ex. 1.) Granitize further stated they did

                                       3 not need any replacement employees and declined to provide any feedback

                                       4 regarding the terminations. (Id.)

                                       5           On or about March 20, 2019, Ms. Cornejo and the other woman returned to
                                       6 the Granitize job site, with Nick Rebultan and Tony Alanis. (Perez Decl. ¶ 3.) They

                                       7 again informed the Chartwell employees that Chartwell was “doing bad” and “very

                                       8 soon will be out of business,” and that they should join Empire if they wanted to

                                       9 keep their jobs. (Id.) They further informed the Chartwell employees that if they

                                      10 contacted Chartwell, Chartwell would deny it and try to get them to stay by offering
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                                      11 a $100 bonus if they stayed with Chartwell. (Id.)

                                      12           Caplugs. On March 18, 2019, Denise Gonzalez visited the job site of
                                      13 Protective Industries, Inc., doing business as Caplugs (“Caplugs”). (Temblador

                                      14 Decl. ¶ 2.) She met with a Chartwell employee, and told him Chartwell had “split

                                      15 up,” and that the new company was Empire. (Temblador Decl. ¶ 3.) She told him

                                      16 to fill out the Empire application, which he did. (Id.) She further told him

                                      17 Chartwell’s Gardena branch had shut down and would not be there. (Id.)

                                      18           Aquamar. On or about March 29, 2019, Chartwell received calls from
                                      19 Aquamar, a current client of Chartwell, who stated she had been getting “voicemails

                                      20 and communications” from Hanks soliciting business for her new company, Empire.

                                      21 (Lee Decl. ¶ 2.)

                                      22           Cal-Western and Stepstone. On or about March 27, 2019, Chartwell
                                      23 learned Cal-Western Manufacturers was placing job orders with Empire. (Lilley

                                      24 Decl. ¶ 35, Ex. 13.) The same day, Chartwell also learned Stepstone had replaced

                                      25 13 Chartwell employees, who were “rolled over” to Empire. All 13 employees were

                                      26 employed by Chartwell until recently. (Lilley Decl. ¶ 36, Ex. 14.)

                                      27

                                      28
                                                                                       13
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                                       1 III.      LEGAL STANDARD
                                       2           This Court considers four factors in determining whether to issue a temporary
                                       3 restraining order: (1) the likelihood of plaintiff’s success on the merits; (2) the threat

                                       4 of irreparable harm to plaintiff if the order is not issued; (3) the relative balance of

                                       5 harm between the parties; and (4) the impact on the public interest. See Winter v.

                                       6 Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

                                       7           While the plaintiff’s burden of persuasion is to make a “clear showing,”
                                       8 Mazurek v. Armstrong, 520 U.S. 968, 972 (1997), courts in the Ninth Circuit apply a

                                       9 sliding-scale approach to the Winter factors. Alliance for the Wild Rockies v.

                                      10 Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). Injunctive relief may issue where a
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                                      11 plaintiff has raised “serious questions on the merits”—rather than a more complete

                                      12 showing that he is likely to succeed on the merits—so long as the balance of

                                      13 hardships tips sharply in his favor and he satisfies the remaining two prongs of

                                      14 Winter. Id.

                                      15           If the Court issues a restraining order, it may concurrently issue an order to
                                      16 show cause why a preliminary injunction should not issue. See Sampson v. Murray,

                                      17 415 U.S. 61, 86-87 (1974) (a temporary restraining order provides immediate,

                                      18 temporary relief; that relief may be continued by a preliminary injunction).
                                      19           This Court should issue a temporary restraining order immediately and, after
                                      20 a hearing, extend the relief through the end of trial by issuing a preliminary

                                      21 injunction.

                                      22 IV.       CHARTWELL IS LIKELY TO SUCCEED ON THE MERITS.
                                      23           “[F]undamental to ... [the] right to have the ingenuity and industry one invests
                                      24 in the success of a business or occupation protected from the gratuitous use of that

                                      25 ‘sweat of the brow’ by others.” Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1520

                                      26 (1997). This principle is codified in the Defend Trade Secrets Act (“DTSA”), 18

                                      27 U.S.C. §§ 1836 et seq., and the California’s Uniform Trade Secrets Act (“CUTSA”),

                                      28 Cal. Civ. Code §§ 3426.1 et seq.
                                                                                       14
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                                       1           Under the DTSA and the CUTSA, a court may grant an injunction to prevent
                                       2 any “actual or threatened misappropriation.” See Cal. Civ. Code § 3426.2; 18 U.S.C.

                                       3 § 1836(b)(3)(A).

                                       4           A.       Chartwell Will Prevail on Its Claim for Violation of the DTSA.
                                       5           The DTSA allows an “owner of a trade secret that is misappropriated” to
                                       6 bring a civil action under this subsection if the “trade secret is related to a product or

                                       7 service used in, or intended for use in, interstate or foreign commerce.” 18 U.S.C. §

                                       8 1836(b). The present case involves Confidential Trade Secret Information

                                       9 belonging to a national staffing agency, with branches in 13 states. (Lilley Decl. ¶

                                      10 3.) Employees in one state routinely work with other employees and customers in
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                                      11 other states. (Id.) Chartwell routinely assigns employees to customer jobs located

                                      12 across state lines. (Id.) The services at issue are used in interstate commerce.

                                      13                    1.   Chartwell’s Confidential Trade Secret Information constitutes a
                                      14                         “trade secret” as defined in the DTSA.
                                      15           “In establishing the existence of a trade secret, ‘[a] plaintiff need not “spell
                                      16 out the details of the trade secret,”’ [citation], but must ‘describe the subject matter

                                      17 of the trade secret with sufficient particularity to separate it from matters of general

                                      18 knowledge in the trade or of special persons who are skilled in the trade, and to
                                      19 permit the defendant to ascertain at least the boundaries within which the secret

                                      20 lies.’” Sun Distributing Company, LLC v. Corbett, 2018 WL 4951966, at *3 (S.D.

                                      21 Cal. Oct. 12, 2018).

                                      22           Under the DTSA, a “trade secret” includes:
                                      23                all forms and types of financial, business, ... [or] economic []
                                      24                information, including ... compilations, ... methods, techniques,
                                                        processes, procedures, [or] programs [], whether tangible or
                                      25                intangible, and whether or how stored, compiled, or
                                                        memorialized physically, electronically, graphically,
                                      26                photographically, or in writing if—
                                      27
                                                        (A) the owner thereof has taken reasonable measures to keep
                                      28                such information secret; and
                                                                                       15
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                                       1               (B) the information derives independent economic value, actual
                                                       or potential, from not being generally known to, and not being
                                       2               readily ascertainable through proper means by, another person
                                       3
                                                       who can obtain economic value from the disclosure or use of
                                                       the information;
                                       4 18 U.S.C. § 1839(3). See also MAI Sys. Corp. v. Peak Computer, Inc., 991 F.2d

                                       5 511, 521 (9th Cir. 1993) (“The Customer Database has potential economic value

                                       6 because it allows a competitor . . . to direct its sales efforts to those potential

                                       7 customers that are already using the MAI computer system.”); Henry Schein, Inc. v.

                                       8 Cook, 191 F. Supp. 3d 1072, 1077 (N.D. Cal. 2016) (“Customer information such as

                                       9 sales history and customer needs and preferences constitute trade secrets.”); WHIC

                                      10 LLC v. NextGen Laboratories, Inc., 341 F. Supp. 3d 1147, 1162-63 (D. Haw. 2018)
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                                      11 (finding client information can be protected as trade secret under DTSA, even

                                      12 though client lists are not per se trade secret under Hawaii state law).

                                      13           Chartwell is likely to succeed on its DTSA claim. Chartwell’s Confidential
                                      14 Trade Secret Information includes customer lists, including information relating to

                                      15 customers’ business affairs, special staffing needs, preferred methods of doing

                                      16 business, methods of operation, key contact personnel, mark up rates, pay rates, and

                                      17 other negotiated terms specific to each customer, job order specifications and the

                                      18 particular characteristics and requirements of persons generally hired by the
                                      19 customer, specific job listings, mailing lists, computer runoffs, financial and other

                                      20 information; and employee information, including the names, addresses, telephone

                                      21 numbers, qualifications, education, accomplishments, experience, availability,

                                      22 resumes and other data regarding persons who have applied or been recruited for

                                      23 temporary or permanent employment. The Confidential Trade Secret Information is

                                      24 a trade secret as defined by the DTSA and case law. Further, it is defined as “trade

                                      25 secret” by California Business and Professions Code section 16607(a), which states:

                                      26
                                                       the customer list, including the names, addresses and identity of
                                      27               all employer customers who have listed job orders with an
                                                       employment agency within a period of 180 days prior to the
                                      28               separation of an employee from the agency and including the
                                                                                       16
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                                       1               names, addresses and identity of all applicant customers of the
                                                       employment agency, shall constitute a trade secret and
                                       2               confidential information of, and shall belong to, the
                                                       employment agency.
                                       3
                                                   Section 16607 “make[s] the customer lists of employment agencies a trade
                                       4
                                           secret. Customer lists refer to both the employers who have listed job orders with
                                       5
                                           the employment agency during the past 180 days and the job applicants who have
                                       6
                                           sought the help of the agency. Making these lists a trade secret would provide the
                                       7
                                           basis for an injunction and/or an action for damages against former employees of
                                       8
                                           employment agencies who leave to join another agency or to open their own
                                       9
                                           agency.” (Request for Judicial Notice, Ex. 3.)
                                      10
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                                                   Chartwell has taken steps to ensure the secrecy of the Confidential Trade
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                                      11
                                           Secret Information, both by securing and limiting access to the CRM and MOS,
                                      12
                                           which contain Confidential Trade Secret Information, but also by requiring its
                                      13
                                           employees to sign Employment Agreements, which restrict their use of
                                      14
                                           “Confidential Information,” and contain non-disclosure agreements. (Lilley Decl.
                                      15
                                           ¶¶ 11-12.)
                                      16
                                                   The Confidential Trade Secret Information further has independent economic
                                      17
                                           value – Chartwell has dedicated significant resources over the last seven years to
                                      18
                                           compiling the information, and has spent no less than $15 million developing its
                                      19
                                           customer and employee base. (Lilley Decl. ¶ 4.) Further, Chartwell’s methods of
                                      20
                                           doing business with its customers, including the customer’s preferred methods of
                                      21
                                           doing business, staffing needs, methods of calculating rates of pay and mark up, all
                                      22
                                           have significant economic value and provide Chartwell with a competitive
                                      23
                                           advantage over its competitors.
                                      24
                                                            2.   Defendants misappropriated Chartwell’s Confidential Trade
                                      25
                                                                 Secret Information.
                                      26
                                                   The DTSA’s defines “misappropriation” as:
                                      27
                                                       (A) acquisition of a trade secret of another by a person who
                                      28
                                                                                       17
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                                       1               knows or has reason to know that the trade secret was acquired
                                                       by improper means; or
                                       2

                                       3
                                                       (B) disclosure or use of a trade secret of another without
                                                       express or implied consent by a person who—
                                       4
                                                            (i) used improper means to acquire knowledge of the trade
                                       5                    secret;
                                       6                    (ii) at the time of disclosure or use, knew or had reason to
                                       7                    know that the knowledge of the trade secret was—

                                       8                          (I) derived from or through a person who had used
                                                                  improper means to acquire the trade secret;
                                       9

                                      10
                                                                  (II) acquired under circumstances giving rise to a duty
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                                                                  to maintain the secrecy of the trade secret or limit the
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                                      11                          use of the trade secret; or
                                      12                          (III) derived from or through a person who owed a
                                                                  duty to the person seeking relief to maintain the
                                      13                          secrecy of the trade secret or limit the use of the trade
                                      14                          secret[.]

                                      15
                                           18 U.S.C. § 1839(5). Finally, the DTSA defines “improper means” to include “theft,

                                      16
                                           bribery, misrepresentation, breach or inducement of a breach of a duty to maintain

                                      17
                                           secrecy, or espionage through electronic or other means....” 18 U.S.C. § 1839(6).

                                      18
                                                   Defendants misappropriated the Confidential Trade Secret Information

                                      19
                                           through improper means. Specifically, Diaz accessed and downloaded information

                                      20
                                           available on CRM and MOS, knowing that her actions in taking the information

                                      21
                                           available on those databases to Empire constituted theft or, at the very least, a

                                      22
                                           breach of her common law duties to maintain the secrecy of this information. 18

                                      23
                                           U.S.C. § 1839(6).

                                      24
                                                   Further, Defendants used Chartwell’s Confidential Trade Secret Information,

                                      25
                                           which they acquired under circumstances giving rise to a duty to maintain the

                                      26
                                           secrecy of the information or limit the use of the information. Each Defendant knew

                                      27
                                           that they and/or the other Defendants acquired the Confidential Trade Secret

                                      28
                                           Information in the scope of their employment with Chartwell, and knew they had a
                                                                                        18
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                                       1 duty to maintain the secrecy of the information and limit its use because each was

                                       2 required to sign an Employment Agreement defining the confidential information

                                       3 and prohibiting its disclosure. Each Defendant misappropriated Chartwell’s

                                       4 Confidential Trade Secret Information by directly soliciting clients and employees,

                                       5 visiting client locations and meeting with current Chartwell employees assigned to

                                       6 work at those client facilities and coercing them, through misrepresentations or

                                       7 omissions, to apply for employment with Empire.

                                       8           Based on this showing, Chartwell is likely to succeed on the merits of its
                                       9 DTSA claim.

                                      10           B.       Chartwell Will Prevail on Its Claim for Violation of the CUTSA.
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                                      11           The CUTSA defines “trade secrets” as including information, compilations,
                                      12 programs, methods, techniques, or processes that (1) derive independent economic

                                      13 value from not being generally known to and not being readily ascertainable through

                                      14 proper means by another person who can obtain economic value from the disclosure

                                      15 or use of the information; and (2) which the owner has taken reasonable measures to

                                      16 keep such information secret. See Cal. Civ. Code § 3426.1(d). The CUTSA defines

                                      17 “misappropriation” as:

                                      18                (1) Acquisition of a trade secret of another by a person who
                                      19                knows or has reason to know that the trade secret was acquired
                                                        by improper means; or
                                      20
                                                        (2) Disclosure or use of a trade secret of another without
                                      21                express or implied consent by a person who:
                                      22
                                                        (A) Used improper means to acquire knowledge of the trade
                                      23                secret; or
                                      24                (B) At the time of disclosure or use, knew or had reason to
                                                        know that his or her knowledge of the trade secret was:
                                      25

                                      26                    (i)  Derived from or through a person who had utilized
                                                            improper means to acquire it;
                                      27
                                                            (ii)   Acquired under circumstances giving rise to a duty to
                                      28
                                                                                        19
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                                       1                    maintain its secrecy or limit its use; or
                                       2                    (iii) Derived from or through a person who owed a duty to
                                       3
                                                            the person seeking relief to maintain its secrecy or limit its
                                                            use;
                                       4 Cal. Civ. Code § 3426.1(b). “Improper means,” for the purposes of the CUTSA,

                                       5 includes theft, misrepresentation, breach of a duty to maintain secrecy, or espionage

                                       6 through electronic or other means. See Cal. Civ. Code § 3426.1(a).

                                       7                    1.    Chartwell’s Confidential Trade Secret Information Constitutes
                                       8                          Protectable Trade Secrets Under the CUTSA
                                       9           “[T]he customer list, including the names, addresses and identity of all
                                      10 employer customers who have listed job orders with an employment agency within a
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                                      11 period of 180 days prior to the separate of an employee from the agency, and

                                      12 including names, addresses, and identity of all applicant customers of the

                                      13 employment agency, shall constitute a trade secret and confidential information of,

                                      14 and shall belong to the employment agency.” Cal. Bus. & Prof. Code § 16607(a).

                                      15 Further, in MAI Sys. Corp. v. Peak Computer, Inc., 991 F.2d 511, 520–21 (9th Cir.

                                      16 1993), the Ninth Circuit held a customer database qualified as a trade secret because

                                      17 it had potential economic value, in that competitors could direct sales efforts to

                                      18 certain customers. See also Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1522
                                      19 (1997) (“[A] customer list can be found to have economic value because its

                                      20 disclosure would allow a competitor to direct its sales efforts to those customers

                                      21 who have already shown a willingness to use a unique type of service or product as

                                      22 opposed to a list of people who only might be interested.” (citations omitted)).

                                      23           In Courtesy Temporary Service, Inc. v. Camacho, 222 Cal. App. 3d 1278
                                      24 (1990), the plaintiff, a temporary employment agency, provided various companies

                                      25 with temporary workers. The defendants, former employees of the agency, admitted

                                      26 scheming to form a competitive business and compiled a list of the agency’s major

                                      27 customers while employed by the agency. The agency sued the defendants for

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                                       1 unfair trade practices and injunctive relief for setting up a competing agency. The

                                       2 trial court issued a preliminary injunction enjoining the former employees from

                                       3 soliciting the agency’s customers and temporary labor force.

                                       4           The trial court erroneously found, however, that the agency’s customer list
                                       5 and related information was unprotected work product, and thus denied an

                                       6 injunction enjoining use and disclosure of the information. On appeal, the court of

                                       7 appeal reversed the trial court ruling denying the injunction, concluding the

                                       8 customer list was indeed a protectable trade secret under the CUTSA and unfair

                                       9 competition statutes. The court found customer lists are protectable trade secrets

                                      10 even if the list contains information available to the public or competitors: “[E]ven
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                                      11 if the customers’ names could be found in telephone or trade directories, such public

                                      12 sources ‘“would not disclose the persons who ultimately made up the list of

                                      13 plaintiff’s customers.”’ [Citation.] It is the list of persons who actually purchase

                                      14 Courtesy’s services that constitute confidential information.” Courtesy, 222 Cal.

                                      15 App. 3d at 1288.

                                      16           “Here, the evidence established that Courtesy’s customer list and related
                                      17 information was the product of a substantial amount of time, expense and effort on

                                      18 the part of Courtesy. Moreover, the nature and character of the subject customer
                                      19 information, i.e., billing rates, key contacts, specialized requirements and markup

                                      20 rates, is sophisticated information and irrefutably of commercial value and not

                                      21 readily ascertainable to other competitors. Thus, Courtesy’s customer list and related

                                      22 proprietary information satisfy the first prong of the definition of ‘trade secret’

                                      23 under section 3426.1.” Courtesy Temporary Service, Inc. v. Camacho, 222 Cal.

                                      24 App. 3d at 1288.

                                      25           Courtesy is directly on point. Defendants, led by Kidan, conspired to start a
                                      26 competing business while still employed with Chartwell. At least one of the

                                      27 Defendants accessed and presumably downloaded Chartwell’s Confidential Trade

                                      28 Secret Information, containing customer lists and information particular to doing
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                                       1 business with that customer, including billing rates, specialized requirements, mark

                                       2 ups, and key contacts.

                                       3           Further, as stated above, Chartwell’s Confidential Trade Secret Information is
                                       4 not publicly known or readily ascertainable. It derives its economic value from the

                                       5 fact that it is secret because others in the industry would find value in its disclosure.

                                       6 Cal. Civ. Code § 3426.1(d)(1); see Whyte v. Schalge Lock Co., 101 Cal. App. 4th

                                       7 1443, 1455 (2002) (noting that this type of information “has independent economic

                                       8 value because [the plaintiff s] pricing policies would be valuable to a competitor to

                                       9 set prices which meet or undercut [the plaintiff’s].”). Chartwell expended significant

                                      10 time and resources developing this information, including through use of proprietary
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                                      11 software and processes.

                                      12           Chartwell further took measures to ensure the secrecy of the Confidential
                                      13 Trade Secret Information. Cal. Civ. Code § 3426.1(d). The employees with access

                                      14 to Confidential Trade Secret Information were subject to confidentiality agreements

                                      15 identifying this information as highly confidential and restricting its use. See, e.g,

                                      16 Religious Technology Center v. Netcom On-Line Communications Services, Inc.,

                                      17 923 F. Supp. 1231, 1253 (N.D. Cal. 1995) (noting that reasonable efforts can

                                      18 include “advising employees of the existence of a trade secret” and “requiring
                                      19 employees to sign confidentiality agreements”). Further, Chartwell requires

                                      20 password access to the databases containing Confidential Trade Secret Information,

                                      21 and immediately shuts off access to a departing employee. See, e.g., Bank of Am.,

                                      22 N.A. v. Lee, 2008 WL 4351348, at *4 (C.D. Cal. Sept. 22, 2008) (noting that the

                                      23 plaintiff used reasonable efforts to keep its customer information secretive “based

                                      24 on the written [confidentiality] agreements ... and their password protection

                                      25 system.”). In sum, there is a high likelihood that Chartwell will succeed in

                                      26 establishing that the information at issue constitutes protectable trade secrets.

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                                       1                    2.   Defendants Misappropriated Chartwell’s Trade Secrets in
                                       2                         Violation of the CUTSA
                                       3           Defendants misappropriated Chartwell’s trade secrets in violation of the
                                       4 CUTSA. Diaz, acting on behalf of and/or in concert with the other Defendants,

                                       5 “acqui[red]” Chartwell’s Confidential Trade Secret Information by accessing CRM

                                       6 and MOS two days before her resignation, while she was on paid time off. In doing

                                       7 so, she and the other Defendants “[knew] or ha[d] reason to know” that doing so

                                       8 was “improper,” where it constituted “theft,” a “breach ... of [their] duty to maintain

                                       9 [the] secrecy” of such information, both contractually and under relevant law. Cal.

                                      10 Civ. Code § 3426.1.
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                                      11           Further, Defendants used Chartwell’s Confidential Trade Secret Information
                                      12 by directly soliciting clients and employees, visiting client locations and meeting

                                      13 with current Chartwell employees assigned to work at those client facilities and

                                      14 coercing them, through misrepresentations or omissions, to apply for employment

                                      15 with Empire. California cases “have equated acts of solicitation with ‘use’ or

                                      16 ‘misappropriation’ of protected information.” Morlife, Inc. v. Perry, 56 Cal. App.

                                      17 4th 1514, 1524 (1997); see also Reeves v. Hanlon, 33 Cal. 4th 1140, 1155 (2004)

                                      18 (“[a] violation of the UTSA occurs when an individual misappropriates a former
                                      19 employer’s protected trade secret client list, for example, by using the list to solicit

                                      20 clients [citation] or to otherwise attain an unfair competitive advantage [citation].”).

                                      21 And like the DTSA, the CUTSA explicitly permits a court to enjoin even the

                                      22 threatened misappropriation of trade secrets. Cal. Civ. Code § 3426.2(a). Thus,

                                      23 there is a strong likelihood that Chartwell will establish Defendants

                                      24 “misappropriated” Chartwell’s Confidential Trade Secret Information in violation of

                                      25 the CUTSA.

                                      26                    3.   AMN Healthcare, Inc. v. Aya Healthcare Services, Inc. Does Not
                                      27                         Protect Defendants.
                                      28           Chartwell anticipates Defendants will argue AMN Healthcare, Inc. v. Aya
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                                       1 Healthcare Services, Inc., 28 Cal. App. 5th 923 (2018), protects their wrongful

                                       2 activity. It does not.

                                       3           AMN and Aya were competitors in the field of providing “travel nurses” to
                                       4 medical care facilities throughout the countries. A number of AMN travel nurse

                                       5 recruiters left AMN and joined Aya, where they also worked as travel nurse

                                       6 employees. AMN, 28 Cal. App. 5th at 927. AMN sued Aya and the former

                                       7 employees for, among other things, breach of CUTSA.

                                       8           The court rejected AMN’s claim because “[t]he undisputed evidence shows
                                       9 each of these travel nurses already was known to Aya and was in its database, long

                                      10 before each individual defendant left AMN and went to work for Aya.” Id. at 944.
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                                      11 Unlike Aya, Empire was founded by the individual defendants named in this case.

                                      12 Empire, a new company, had no prior databases, and did not develop its own

                                      13 customer database. It stole confidential information belonging to Chartwell to set

                                      14 up its competing business. Defendants will be unable to present any evidence to

                                      15 establish Empire was already in possession of Chartwell’s confidential information

                                      16 before Kidan and the other individual defendants engaged in their scheme to gut

                                      17 Chartwell of its customers.

                                      18 V.        CHARTWELL WILL BE IRREPARABLY HARMED IF THE ORDER
                                      19           IS NOT ISSUED.
                                      20           “In general, the imminent use of a trade secret constitutes irreparable harm.”
                                      21 Gallagher Benefits Servs., Inc. v. De La Torre, 2007 WL 4106821, at *5 (N.D. Cal.

                                      22 Nov. 16, 2007), order aff’d in part, vacated in part sub nom. Gallagher Benefit

                                      23 Servs., Inc. v. De La Torre, 283 F. App’x 543 (9th Cir. 2008) (“[T]he goodwill and

                                      24 customers that Gallagher would lose absent equitable relief supports [the lower

                                      25 court’s] finding of irreparable injury.”). “This is particularly true when the trade

                                      26 secret is a customer list, for solicitation of plaintiff’s customers by defendants

                                      27 cannot be remedied by money damages alone.” Gallagher, 2007 WL 4106821, at *5

                                      28 (citation omitted); see also Stuhlbarg Int’l Sales Co., v. John D. Brush & Co., 240
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                                       1 F.3d 832, 841 (9th Cir. 2001) (“Evidence of threatened loss of prospective

                                       2 customers or goodwill certainly supports a finding of the possibility of irreparable

                                       3 harm.”); Markovits v. Venture Info Capital, Inc., 129 F. Supp. 2d 647, 661

                                       4 (S.D.N.Y. 2001) (“[The former employee’s] continued use of [the company’s]

                                       5 confidential information, and [his] inevitable competition based thereon, will likely

                                       6 cause serious damage to [the company’s] reputation and client base. . . . The

                                       7 measure of this damage is simply unquantifiable.”).

                                       8           Chartwell has already suffered, and will continue to suffer immediate and
                                       9 irreparable injury, loss and damage should the Court not issue a TRO, enjoining

                                      10 Defendants from using Confidential Trade Secret Information, and contacting
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                                      11 Chartwell’s customers and employees assigned to those customers to solicit their

                                      12 business. Chartwell has already suffered damages as a result of Defendants’

                                      13 wrongful solicitation efforts at Cal-Western and Stepstone.

                                      14           Further, as stated above, the threat of trade secret misappropriation, and of
                                      15 damage to customer relationships and business good will, are both well recognized

                                      16 as constituting irreparable injury. Not only is the value of trade secrets and

                                      17 confidential data lost through disclosure and use by a competitor – but the use of

                                      18 Chartwell’s own trade secret information to enable a competitor to develop business
                                      19 solutions and pricing for the supply needs of Chartwell customers (1) provides

                                      20 Defendants an unfair head start, (2) enables them to trade on Chartwell’s efforts, and

                                      21 (3) interferes with Chartwell’s customer relationships and good will. All of this will

                                      22 inevitably lead to loss of sales and customers in ways that cannot be readily

                                      23 measured or compensated by money damages. Thus, Defendants’ actions in the

                                      24 short term can significantly change the status quo, causing substantial harm.

                                      25           Defendants have demonstrated their intent to use Confidential Trade Secret
                                      26 Information they acquired while employed with Chartwell to divert Chartwell

                                      27 customers. To prevent irreparable harm resulting from Defendants’

                                      28 misappropriation of Chartwell’s trade secrets and interference with Chartwell’s
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                                       1 relationships, it is imperative that the Court take action to prevent further

                                       2 exploitation of this information.

                                       3 VI.       THE BALANCE OF HARMS TIPS SHARPLY IN CHARTWELL’S
                                       4           FAVOR.
                                       5           “The balance of equities tips toward the . . . plaintiffs, because the harms they
                                       6 face are permanent, while the [defendant] face[s] temporary delay.” League of

                                       7 Wilderness Defenders/Blue Mountains Biodiversity Project v. Connaughton, 752

                                       8 F.3d 755, 765 (9th Cir. 2014).

                                       9           As demonstrated above, Chartwell will suffer irreparable harm if Defendants
                                      10 are permitted to continue to unlawfully solicit its customers and employees. On the
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                                      11 other hand, if Defendants are temporarily enjoined, they may continue to do

                                      12 business by any other lawful means, including obtaining new customers through

                                      13 their own contacts.

                                      14 VII. THERE IS LITTLE TO NO IMPACT ON THE PUBLIC INTEREST.

                                      15           The consideration of the public interest is a minimal factor in this case, as the
                                      16 injunction would primarily affect only the parties involved in this case. See

                                      17 Boardman, 822 F.3d at 1023–24 (district court considers public interest if “the

                                      18 impact of an injunction reaches beyond the parties, carrying with it a potential for
                                      19 public consequences” (quotation marks and citations omitted)).

                                      20           To the extent ramifications exist beyond the parties, the public interest weighs
                                      21 in favor of issuing injunctive relief. If anything, granting the requested injunctive

                                      22 relief would support the public’s interests in protecting trade secrets under the

                                      23 CUTSA and DTSA and upholding enforceable confidentiality and non-disclosure

                                      24 agreements between employers and employees. See Bank of Am., N.A. v. Lee, 2008

                                      25 WL 4351348, at *7 (C.D. Cal. Sept. 22, 2008) (“While California has a strong

                                      26 public policy in favor of competition, this interest yields to California’s interest in

                                      27 protecting a company’s trade secrets.”); Congressional Report 114-529, Defend

                                      28 Trade Secrets Act of 2016, at *6 (April 26, 2016) (noting that the DTSA equips
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                                       1 businesses with “the tools they need to effectively protect their intellectual property

                                       2 and ensures continued growth and innovation in the American economy”).

                                       3 VIII. CONCLUSION

                                       4           For the foregoing reasons, Chartwell respectfully requests that the Court grant
                                       5 this ex parte application and issue a temporary restraining order as requested by this

                                       6 application and an order to show cause why a preliminary injunction should not be

                                       7 issued pending trial on this matter.

                                       8 Dated: April 18, 2019                    Aileen M. Hunter
                                       9
                                                                                  Traci G. Choi
                                                                                  BRYAN CAVE LEIGHTON PAISNER LLP
                                      10
3161 Michelson Drive, Suite 1500
Bryan Cave Leighton Paisner LLP




                                                                                  By: /s/ Traci G. Choi
 Irvine, California 92612-4414




                                      11                                               Traci G. Choi
                                      12                                          Attorneys for Plaintiff
                                                                                  CHARTWELL STAFFING SERVICES INC.
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